Case 3:19-cv-01067-K Document 82-1 Filed 03/12/21      Page 1 of 2 PageID 3860



                     UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

                                     )
IN RE EXXON MOBIL CORPORATION )
DERIVATIVE LITIGATION                )   Lead Case No. 3:19-cv-01067-K
                                     )
This Document Relates To:            )   (Consolidated with Nos. 3:19-cv-1068-K,
                                     )   3:19-cv-2267-K, 3:20-cv-1280-K, 3:20-cv-
                                     )
     ALL ACTIONS                     )   2302-K, and 3:20-cv-2995-K)
                                     )
                                     )   (Consolidated Derivative Action)
                                     )
                                     )
                                     )
GEORGE ASSAD, Derivatively on Behalf )
of Exxon Mobil Corporation,          )   Case No. 3:21-cv-00430-K
                                     )
Plaintiff,                           )
                                     )
                                     )
v.                                   )
                                     )
DARREN W. WOODS, ANDREW P.           )
SWIGER, DAVID S. ROSENTHAL,          )
JEFFREY J. WOODBURY, STEVEN S.       )
REINEMUND, MICHAEL J. BOSKIN,        )
SAMUEL J. PALMISANO, KENNETH C. )
FRAZIER, URSULA M. BURNS,            )
                                     )
HENRIETTA H. FORE, WILLIAM C.        )
WELDON, REX W. TILLERSON,            )
WILLIAM W. GEORGE, LARRY R.          )
FAULKNER, DOUGLAS R.                 )
OBERHELMAN, and PETER BRABECK- )
LETMATHE,                            )
                                     )
                                     )
Defendants,                          )
                                     )
     -and-                           )
                                     )
EXXON MOBIL CORPORATION, a New )
Jersey corporation,                  )
                                     )
Nominal Defendant.                   )


  [PROPOSED] ORDER GRANTING LEAD PLAINTIFF SAMUEL MONTINI’S
      MOTION TO CONSOLIDATE PURSUANT TO FED. R. CIV. P. 42
 Case 3:19-cv-01067-K Document 82-1 Filed 03/12/21              Page 2 of 2 PageID 3861



       Having considered Lead Plaintiff Samuel Montini’s Motion to Consolidate Pursuant to

Fed. R. Civ. P. 42 and Brief in Support (the “Motion”), and good cause appearing therefore, the

Court ORDERS as follows:

       1.     The Motion is GRANTED

       2.     The Assad Derivative Action is consolidated with the Consolidated Derivative

              Action, under the leadership of Lead Plaintiff Montini, Lead Counsel Johnson

              Fistel, LLP, and Local Counsel Ron Wells.




 Dated:
                                            THE HONORABLE ED KINKEADE
                                            UNITED STATES DISTRICT COURT JUDGE




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